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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND

IN RE:

DANIELLE L ROSS                                           *                Case No:
                                                                         18-16865 TC
                                                          *
                        Debtor
                                                                        Chapter 13
*    *    *    *         *       *       *        *      *        *       *    *        *
DANIELLE L ROSS                                          *

                        Movant                           *
vs
                                                         *
ALLY BANK
                                                         *

                        Respondents                      *

*    *     *   *    *    *     *     *       *      *    *    *         *    *      *   *   *



     ORDER GRANTING MOTION TO DETERMINE SECURED STATUS OF CLAIM
     AND MODIFY RATE OF INTEREST AND ADEQUATE PROTECTION PAYMENT



         Having considered debtor’s motion, and any response filed

thereto, and it appearing that proper notice has been given,

pursuant to 11 U.S.C. § 506, it is by the United States Bankruptcy

Court for the District of Maryland,
         ORDERED, that the claim of the respondent, Ally Bank, be paid
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the balance due in the amount of $41,171.45 at 6.0% interest, and

it is further
     ORDERED, that at such time as a discharge Order is entered in

this case pursuant to 11 U.S.C. § 1328, the lien held in favor of

Respondent on the property described below is void to the extent

of Respondent’s unsecured claim:

          2017 Dodge Journey-VIN#3C4PDDGG3HT584017

and it is further
     ORDERED, that if the Respondent has filed a proof of claim,

the claim of the Respondent be and hereby is allowed for purposes

of distributions under the Debtor’s plan as a secured claim in an

amount not to exceed the value of the Respondent’s collateral and

as a general unsecured claim for the balance; and it is further

     ORDERED, that if the Respondent has not filed a proof of

claim, the claim of the Respondent be and hereby is allowed for

purposes of distributions under the Debtor’s plan as a secured

claim in an amount not to exceed the value of the Respondent’s

collateral and as a general unsecured claim for the balance if a

proof of claim is filed on or before the later of (i) the claims

bar date previously fixed by this court, or (ii) twenty-eight

(28) days after entry of this order; and it is further

     ORDERED, that allowance of the claim of the Respondent

pursuant to this order is without prejudice to objection to such

claim on other grounds.

     ORDERED, that the Adequate Protection Payment will be paid in

the amount of $400.00 per month as proposed in the Chapter 13
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Plan.

cc:
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Christman & Fascetta, LLC
810 Gleneagles Court, Suite 301
Towson, MD 21286
Attorney for debtor

Timothy Branigan, Trustee
9891 Broken Land Parkway, Ste. 301
Columbia, Maryland 21046
Chapter 13 Trustee

Ally Bank
PO Box 130424
Roseville, MN 55113-0004
Respondent

Ally Bank
PO Box 78367
Phoenix, AZ 85062-8367
Respondent

Ally Servicing LLC
Attn: Mayhoua Xiong, Bankruptcy Agent
4000 Lexington Avenue N Ste. 100
Shoreview, MN 55126
Proof of Claim filer for respondent

Ally Bank
6925 Union Park Center, STe. 435
Midvale, UT 84047
Principal Office for respondent

Ally Bank
c/o The Corporation Trust Incorporated
2405 York Road, Ste. 201
Lutherville Timonium, MD 21093-2264
Resident Agent

Ally Servicing, LLC
c/o The Corporation Trust Incorporated
2405 York Road, Ste. 201
Lutherville Timonium, MD 21093-2264
Resident Agent

Ally Servicing, LLC
1209 Orange Street
Wilmington, DE 19801
Principal Office

                             END OF ORDER
